                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
RCH                                                 271 Cadman Plaza East
F. #2019R00927                                      Brooklyn, New York 11201



                                                    May 20, 2022

By ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Genaro Garcia Luna, et al.
                      Criminal Docket No. 19-576 (S-1) (BMC)

Dear Judge Cogan:

                 The government hereby notifies the Court of its filing earlier today—via the
Classified Information Security Officer—of an ex parte, classified motion for a protective order
pursuant to the Classified Information Procedures Act, Title 18, United States Code, Appendix
III, Section 4, and Federal Rule of Criminal Procedure 16(d)(1), with related material. A copy of
the motion’s cover page, with markings redacted, and a proposed order on the motion are
enclosed.


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                            By:       /s/
                                                    Ryan C. Harris
                                                    Saritha Komatireddy
                                                    Erin M. Reid
                                                    Phillip Pilmar
                                                    Marietou Diouf
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

cc:    Counsel for Defendants (by ECF)
       Clerk of Court (BMC) (by ECF)
